             Case 2:18-cv-03681-SVW-E Document 8 Filed 05/23/18 Page 1 of 4 Page ID #:23

    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                  TELEPHONE NUMBER                  FOR COURT USE ONLY
     Paul More SBN 228589                                                  (415) 597-7200
     Davis, Cowell & Bowe, LLP
     595 Market Street Suite 800
     San Francisco CA 94105                                                Ref. No. or File No.
     ATTORNEY FOR         Plaintiff                                        UTLA-0014

    UNITED STATES DISTRICT COURT - CENTRAL BANKRUPTCY, LOS ANGELES
    255 E Temple St. Roybal Bldg. #940
    Los Angeles, CA 90012

    SHORT TITLE OF CASE:
    International Brotherhood of Teamsters, Local 396 v. NASA Services, Inc.


     INVOICE NO.              DATE:               TIME:                    DEP./DIV.                 CASE NUMBER:
     2009986                                                                                         2:18-cv-03681-KS




                                                          United States District Court

                                                            Declaration of Service


I certify that I am authorized to serve the Summons and Complaint in the within action pursuant to F.R.Civ.P 4(c) and that I
served the:


Teamsters Local 396's Petition to Compel Arbitration; Civil Cover Sheet; Certification and Notice of Interested Parties; Notice
to Counsel; Statement of Consent to Proceed Before a United States Magistrate Judge; Summons in a Civil Action;

NASA SERVICES, INC.
Arsen Sarkisian, Agent for Service

At: 1100 S Maple Ave
   Montebello, CA 90640


I served the party by substituted service. By leaving copies with:

Anita Altounian
Gender: F AGE: 50 Height: 5'4 Weight: 150 Race: Armenian               Hair: brown Other:
Whose title is: Person in Charge

On: 5/14/2018                              At: 09:57 AM

A declaration of mailing is attached

 

Person who served papers
  a. Name: Cruz M. Gonzalez




                                                                                                              CONTINUED ON NEXT PAGE


                                                            Declaration of Service
Billing Code: UTLA-0014
            Case 2:18-cv-03681-SVW-E Document 8 Filed 05/23/18 Page 2 of 4 Page ID #:24


 PLAINTIFF/PETITIONER:               International Brotherhood of Teamsters, Local 396               CASE NUMBER:
                                                                                                     2:18-cv-03681-KS
 DEFENDANT/RESPONDENT:               NASA Services, Inc.




  b. Address: 1545 Wilshire Blvd. Suite 311, Los Angeles, CA 90017
  c. Telephone number: 213-628-6338
  d. The fee for this service was: 69.50
  e. I am:
  (3) [X] a registered CA process server:
         (i) [X] Independent Contractor
         (ii) Registration No.: 3415
         (iii) County: Los Angeles


   I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in
the return of service and statement of fees is true and correct.




5/22/2018

Cruz M. Gonzalez                                                                    >

                                                           Declaration of Service
Billing Code: UTLA-0014
            Case 2:18-cv-03681-SVW-E Document 8 Filed 05/23/18 Page 3 of 4 Page ID #:25

 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                     TELEPHONE NUMBER                  FOR COURT USE ONLY
  Paul More SBN 228589                                                     (415) 597-7200
  Davis, Cowell & Bowe, LLP
  595 Market Street Suite 800
  San Francisco CA 94105                                                   Ref. No. or File No.
  ATTORNEY FOR         Plaintiff                                           UTLA-0014

 UNITED STATES DISTRICT COURT - CENTRAL BANKRUPTCY, LOS ANGELES
 255 E Temple St. Roybal Bldg. #940
 Los Angeles, CA 90012

 SHORT TITLE OF CASE:
 International Brotherhood of Teamsters, Local 396 v. NASA Services, Inc.


   INVOICE NO.             DATE:                 TIME:                     DEP./DIV.                 CASE NUMBER:
   2009986                                                                                           2:18-cv-03681-KS




                                                          United States District Court

                                                         Declaration of Service by Mail


I, the undersigned, declare under penalty of perjury that I was on the date herein referred to over the age of 21 years and
not a party to the within entitled action.

On 05/18/2018, I served the within:

Teamsters Local 396's Petition to Compel Arbitration; Civil Cover Sheet; Certification and Notice of Interested Parties; Notice
to Counsel; Statement of Consent to Proceed Before a United States Magistrate Judge; Summons in a Civil Action;

On the defendant, in said action by placing a true copy thereof enclosed in a sealed envelope with postage thereon pre-paid
for first class in the United States mail at: Los Angeles, California, addressed as follows:

NASA SERVICES, INC.
1100 S Maple Ave
Montebello, CA 90640

Declarant:
  a. Name: Margarita Abeshyan
  b. Address: 1545 Wilshire Blvd. Suite 311, Los Angeles, CA 90017
  c. Telephone number: 213-628-6338
  d. The fee for this service was: 69.50
  e. I am:
  (3) [X] a registered California process server:
          (i) [X] Employee
          (ii) Registration No.: 6700
          (iii) County:


I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in




                                                                                                              CONTINUED ON NEXT PAGE


                                                         Declaration of Service by Mail
Billing Code: UTLA-0014
            Case 2:18-cv-03681-SVW-E Document 8 Filed 05/23/18 Page 4 of 4 Page ID #:26


 PLAINTIFF/PETITIONER:               International Brotherhood of Teamsters, Local 396   CASE NUMBER:
                                                                                         2:18-cv-03681-KS
 DEFENDANT/RESPONDENT:               NASA Services, Inc.




the return of service and statement of fees is true and correct.




5/18/2018

Margarita Abeshyan                                                                >

                                                        Declaration of Service by Mail
Billing Code: UTLA-0014
